          Entered on Docket November 6, 2015

                                                              Submitted But Not Entered.


 1                                                            _______________________
                                                              Timothy W. Dore
 2                                                            U.S. Bankruptcy Judge
          Settled. See Docket No. 82.
 3

 4

 5

 6
     __________________________________________________________________
 7

 8

 9                           UNITED STATES BANKRUPTCY COURT
                         WESTERN DISTRICT OF WASHINGTON AT SEATTLE
10   IN RE:
11   HEIDI A. STAFFORD AND TYSON J.                         Case No. 13-19709
     STAFFORD,
12                                                          (Chapter: 7)
              Debtors.
13   _______________________________________                Adv. Pro. 14-01458
14   HEIDI A. STAFFORD AND TYSON J.
     STAFFORD,                                              JOINT PRETRIAL ORDER
15

16              Plaintiffs,
17   v.
18   NAVIENT SOLUTIONS, INC, PNC BANK,
     N.A. AND NATIONAL COLLEGIATE
19   TRUST
             Defendants.
20
              COMES NOW Plaintiffs Heidi A. Stafford and Tyson J. Stafford (:Plaintiffs”), by and
21

22   through their attorney of record, Christina L Henry of Henry, DeGraaff & McCormick, PS., and

23   Defendant Navient Solutions, Inc. (“Defendant”), by and through their attorney of record, Mark

24   Giske of Giske Law Firm, PLLC hereby submits the following Joint Pretrial Order as directed by
25   the court herein pursuant to the Notice of Trial and order Setting Deadlines entered on the docket
26
27   JOINT PRETRIAL ORDER - 1                                          HENRY, DEGRAAFF & MCCORMICK, P.S.
                                                                               1833 N 105TH ST, SUITE203
                                                                             SEATTLE, WASHINGTON 98104
                                                                                telephone (206) 330-0595
                                                                                    fax (206) 400-7609

      Case 14-01458-TWD           Doc 83   Filed 11/06/15    Ent. 11/06/15 09:28:56          Pg. 1 of 16
                                                                Submitted But Not Entered.

     on September 4, 2015, Local Bankruptcy Rule 7016.1(b) and Federal Local CR 16 the following
 1

 2   is provided:

 3                                          (1)     Jurisdiction

 4      Jurisdiction is vested in this Court under 28 USC § 1334 and 28 USC § 157(b)(2)(I) because
 5   this is a core proceeding to determine the dischargeability of a student loan debt.
 6
                                          (2) Claims and Defenses
 7
            Plaintiffs will pursue at trial the following claims: that Plaintiff’s student loan debts owed
 8
     to should be discharged due to undue hardship pursuant to 11 USC § 523(a)(8).
 9

10          The defendant will assert that the educational debts incurred by Plaintiffs are not an

11   undue hardship under 11 USC § 523(a)(8) and are therefore not dischargeable.

12          The sole issue before the Court is whether Plaintiffs meet the undue hardship exception
13
     under 11 USC § 523(a)(8) and if so, whether the court should use its equitable authority under
14
     section 105(a) to impose partial payments as the court determines pursuant to In re Saxman, 325
15
     F.3d 1168 (9th Cir 2003).
16
            Plaintiffs will pursue at trial that they meet the burden of proof for finding an undue
17

18   hardship pursuant to 11 U.S.C. § 523(a)(8), and subsequently the student loan debt incurred by

19   both Heidi Stafford and Tyson Stafford should be discharged in full or in part if the court
20   exercises its equitable authority under section 105(a) to impose partial payments as the court
21
     determines pursuant to In re Saxman, 325 F. 3d 1168 (9th Cir. 2003). The defendant will assert
22
     that the student loan debt it holds (the “Loans”) should not be discharged because Heidi Stafford
23
     and Tyson Stafford cannot sustain their burden of proof for finding an undue hardship.
24

25                                          (3) Admitted Facts

26          The following are admitted by the parties to which there are no dispute:

27   JOINT PRETRIAL ORDER - 2                                            HENRY, DEGRAAFF & MCCORMICK, P.S.
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     Case 14-01458-TWD           Doc 83     Filed 11/06/15     Ent. 11/06/15 09:28:56          Pg. 2 of 16
                                                                  Submitted But Not Entered.

              Navient is the current holder/servicer with SLM Education Credit Finance Corporation
 1

 2   (SLM ECFC) as the loan owner of eleven student loans with outstanding balances of over

 3   $546,429.43 as of July 30, 2015.

 4         A. Student Loan Debts
 5                   a. Navient Loans
 6
     No.     Loan#        Outstanding     Identifier   Proof of      Interest Rate     Currently Status
 7           (last four   Loan                         Claim #
             digits)      Balance
 8   1       1562         $102,083.84     Heidi        #8            13.12%            Charged Off
                                          Loan# 02
 9
     2       1570         $67,306.28      Heidi        #9            8.75%             Charged Off
10                                        Loan# 06
     3       1588         $51,718.78      Heidi        #10           8.75%             Charged Off
11                                        Loan #09
     4       1596         $38,030.52      Heidi        #11           7.25%             Charged Off
12                                        Loan #12
13   5       1604         $20,782.82      Heidi                      10.00%            Charged Off
                                          Loan #15
14   6       5001         $51,382.80      Tyson        #13           8.75%             Charged Off
                                          Loan #10
15   7       5019         $38,321.57      Tyson        #15           7.25%             Charged Off
                                          Loan # 13
16
     8       5027         $18,978.09      Tyson                      10.00%            Charged Off
17                                        Loan # 16
     9       9818         $6,208.45       Heidi                      5.50%             Charged Off
18                                        Loan #1
     10      4988         $85,302.88      Tyson        #14           13.12%            Charged Off
19
                                          Loan # 01
20   11      4996         $66,313.40      Tyson        #12           8.75%             Charged Off
                                          Loan # 07
21           TOTAL        $546,429.43
22

23            Payments: Plaintiffs have made voluntary payments on all loans now held by Navient.

24   Payment records provided by Navient regarding the payments made on the loans as follows:

25

26
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     Case 14-01458-TWD           Doc 83     Filed 11/06/15    Ent. 11/06/15 09:28:56           Pg. 3 of 16
                                                                  Submitted But Not Entered.

           No.      Discovery POC# Loan#             Outstanding Total               Forbearance
 1                  No.            (last             Loan        amount              Requests
 2                                 four              Balance     paid on
                                   digist)                       loans
 3         1        Heidi     #8   1562              $102,083.84 $680.39             7 forbearances
                    Loan# 02                                                         requested
 4         2        Heidi     #9   1570              $67,306.28      $304.61         7 forbearances
                    Loan# 06                                                         requested
 5
           3        Heidi     #10  1588              $51,718.78      $204.17         7 forbearances
 6                  Loan #09                                                         requested
           4        Heidi     #11  1596              $38,030.52      $150.83         7 forbearances
 7                  Loan #12                                                         requested
           5        Heidi          1604              $20,782.82      $189.98         7 forbearances
 8                  Loan #15                                                         requested
 9         6        Tyson     #13  5001              $51,382.80      $62.66          6 forbearances
                    Loan #10                                                         requested
10         7        Tyson     #15  5019              $38,321.57      $15.63          6 forbearances
                    Loan # 13                                                        requested
11         8        Tyson          5027              $18,978.09      $1,759.04       6 forbearances
                    Loan # 16                                                        requested
12
           9        Heidi          9818              $6,208.45       $2,987.71       5 forbearances
13                  Loan #1                                                          requested
           10       Tyson     #14  4988              $85,302.88      $116.86         6 forbearances
14                  Loan # 01                                                        requested
           11       Tyson     #12  4996              $66,313.40      $80.83          6 forbearances
15
                    Loan # 07                                                        requested
16                                                   TOTAL           $6,546.07
                                                     PAID
17

18             Since prior to the filing of this bankruptcy proceeding, Navient had charged off all of the
19
     loans above. The Plaintiffs are not eligible for any forbearances and deferments presently.
20
     Payments are listed above solely for the court’s discretion since no current payment plan exists
21
     under any contractual terms at this time. Future repayment terms are solely at the discretion of
22

23   the parties.

24                    b. Federal Stafford Consolidation Loans

25             The Plaintiffs both have federal student loans that are owned by the Department of
26   Education’s William D. Ford Direct Loan Program and are serviced by Fed Loan Servicing and
27   JOINT PRETRIAL ORDER - 4                                              HENRY, DEGRAAFF & MCCORMICK, P.S.
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     Case 14-01458-TWD             Doc 83     Filed 11/06/15      Ent. 11/06/15 09:28:56         Pg. 4 of 16
                                                                 Submitted But Not Entered.

     Nelnet. Tyson and Heidi Stafford have both entered into Income Based Repayment programs for
 1

 2   their respective loans that are not part of this lawsuit. Both plaintiffs have recently updated their

 3   income criteria as required by the Income Based Repayment program, setting a new 12 month

 4   payment plan for their respective loans which are as follows:
 5

 6
      Borrower       Owner       Total Repay Repay              Interest         Install         Dues Due
 7                   Name/       Amount      Term               Rate             Amount          Date
                     Sched
 8                   Type
      Tyson          US Dept     $39,304.56      12 months 6%                    $75.85          10/21/2015
 9
      Stafford       of Ed /                     138 months                      $278.22         10/21/2016
10                   IBR-PFH
      Tyson          US Dept     $71,352.84      12 months 6%                    $116.40         10/21/2015
11    Stafford       of Ed /                     154 months                      $454.26         10/21/2016
                     IBR-PFH
12
      Heidi          US Dept     $27,804.90                     6.25%            $183.38
13    Stafford       of Ed /
                     IBR-PFH
14    Heidi          US Dept     $46,393.75                     6.25%
15    Stafford       of Ed /
                     IBR-PFH
16                   TOTAL       $184,856.05                    NEXT 12          $375.63
                                                                MONTHS
17                                                              PAYMENT
18

19                   c. National Collegiate Student Loan Trust and PNC Bank

20          The Plaintiffs entered into a settlement with National Collegiate Trust (“NCT”) on

21   September 2, 2015 (Docket# 64) to repay $15,000.00, which will be paid in monthly installments
22
     of $62.50 a month for 240 months at 0% interest. (Docket# 56). The remaining defendant, PNC
23
     Bank, NA, agreed to judgment for a full discharge of its student loan debt on July 16, 2015
24
     (Docket# 34).
25
     //
26
27   JOINT PRETRIAL ORDER - 5                                              HENRY, DEGRAAFF & MCCORMICK, P.S.
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     Case 14-01458-TWD           Doc 83     Filed 11/06/15      Ent. 11/06/15 09:28:56          Pg. 5 of 16
                                                               Submitted But Not Entered.

        B. Family Information
 1

 2      Size: Heidi Stafford is 35 years of age, Tyson Stafford is 35 years of age and their son is 6

 3   years old and dependent on them for support. They rent a single family house at 2822 E Harrison

 4   St., Seattle, WA 98112.
 5      C. Past Gross Income:
 6
            2014: $60,185.00 (including $8,306.00 in losses from Heidi Stafford’s photography
 7
     business);
 8
            2013: $51,869.00 (including $4,767.00 in losses from Heidi Stafford’s photography
 9

10   business and Tyson Stafford’s profits of $1,934.00 from his freelance photography activities);

11      D. Present Employment Income:

12          Heidi Stafford is a casino dealer at the Red Dragon Casino which is located at 21917
13
     highway 99, Mountlake Terrace, WA 98043. Tyson Stafford works as a bartender at the Expats
14
     Club, Inc which is located at 1510 11th Ave, Seattle, WA 98122. Their combined monthly gross
15
     income is $5,513.67 a month with deductions of $901.50 for taxes and L&I of $9.95 a month.
16
        E. Healthcare Expense
17

18          Heidi and Tyson Stafford purchase healthcare from the Washington State healthcare

19   exchange.
20      F. Higher Education
21
                    a. Heidi Stafford
22
        Spokane Community College- Spokane, WA – 1996-1998
23            Did not graduate. Her major was Law Enforcement.

24      Spokane Falls Community College – Spokane, WA – 1999-2000
              Did not graduate. Her major was Childhood Education.
25
        Glendow – Spokane, WA – 2000
26             Did not graduate. Her major was cosmetology.
        Seattle Central Community College – Seattle, WA – 2002-2005
27   JOINT PRETRIAL ORDER - 6                                           HENRY, DEGRAAFF & MCCORMICK, P.S.
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     Case 14-01458-TWD          Doc 83     Filed 11/06/15     Ent. 11/06/15 09:28:56         Pg. 6 of 16
                                                               Submitted But Not Entered.

               Graduated with an A.A. in Liberal Arts with a concentration in the theater arts.
 1             This Degree and credits obtained are transferable and accredited.
         Brooks Institute of Photography – Santa Barbara, CA- 2005-2008
 2             Graduated with a BA in Portrait Photography.
 3       Shoreline Community College – Shoreline, WA- 2009
                Did not graduate. Her major was Business.
 4

 5
                    b. Tyson Stafford
 6
         Whitworth College – Spokane, WA – 1998-2000
 7             Did not graduate. His major was Psychology with a minor in Sociology.
         Brooks Institute of Photography – Santa Barbara, CA – 2005-2008
 8
               Graduated with a BA in Commercial Photography.
 9

10      G. Bankruptcy Filing:
11           The Plaintiffs filed a Chapter 11 bankruptcy on October 31, 2013 and later converted
12
     their case to a Chapter 7 on July 10, 2014. The discharge was granted on January 2, 2015 and
13
     this adversary proceeding was filed on December 8, 2014.
14
        H. Prior Scheduled Debt
15

16          The Plaintiffs listed $788,874.76 in unsecured debt with $739,491.28 of that amount

17   listed as student loan debt. They also claimed $10,330.95 as secured debt owed to BMW Bank of

18   North America for a car loan on a 2009 mini cooper.
19      I. Assets
20
            Schedule B lists assets with a value of $45,443.00, which includes their 2009 mini cooper
21
     with a value of $17,000.00 at the time of filing, photography and studio equipment of $7,265.00,
22
     a security deposit of $2,700.00 for their rental apartment and $3,332.00 in attorney fees held in
23

24   trust by Henry, DeGraaff & McCormick, PS for litigation of this adversary proceeding.

25      J. Expenses

26
27   JOINT PRETRIAL ORDER - 7                                           HENRY, DEGRAAFF & MCCORMICK, P.S.
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     Case 14-01458-TWD          Doc 83     Filed 11/06/15     Ent. 11/06/15 09:28:56          Pg. 7 of 16
                                                               Submitted But Not Entered.


 1                                                                          ACTUAL
                  Line   Description                                       EXPENSES
 2                19A    Food (includes meals at home or away)               $525.00
 3                       Housekeeping supplies (includes laundry
                         and cleaning supplies; other household
 4                       products such as cleaning and toilet tissue,
                  19A    paper towels and napkins; lawn and                   $48.00
 5                       garden supplies; postage and stationary;
                         and other miscellaneous household
 6                       supplies)
 7                       Apparel & services (includes shoes and
                  19A    clothing, laundry and dry cleaning, and             $117.00
 8                       shoe repair)
 9                       Personal care products & services
                         (includes hair care products, haircuts and
10                       beautician services, oral hygiene products
                         and articles, shaving needs, cosmetics,
11                19A    perfume, bath preparations, deodorants,              $50.00
                         feminine hygiene products, electric
12                       personal care appliances, personal care
                         services, and repair of personal care
13                       appliances)
14                       Miscellaneous
                  19A                                                        $235.00
15
                  20A    Rent (includes renter’s insurance)                 $1,832.00
16
                         Non-Mortgage Expense (gas, electricity,
17                       water, heating oil, bottled gas, trash and
                  20B    garbage collection, wood and other fuels,           $424.00
18                       septic cleaning, basic telephone and cell
                         phone )
19
                         Transportation Expense / vehicle
20                22A    operation (registrations, licenses,                 $154.00
                         inspections, parking and tolls)
21
                         Ownership cost for Car (operating costs
                 23 &
22                       include maintenance, repairs, insurance,            $524.00
                  24     fuel,)
23                 27    Life Insurance                                       $11.00
24                       Other Necessary Expenses: health care
                   31    (unreimbursed deductibles medications               $113.00
25                       therapy co-pays)
26
27   JOINT PRETRIAL ORDER - 8                                           HENRY, DEGRAAFF & MCCORMICK, P.S.
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     Case 14-01458-TWD          Doc 83    Filed 11/06/15       Ent. 11/06/15 09:28:56        Pg. 8 of 16
                                                                Submitted But Not Entered.


 1                                                                            ACTUAL
                   Line     Description                                      EXPENSES
 2                          Other Necessary Expenses:
                            telecommunication services (Does not
 3                          include basic phone or cell service.
                            Pagers, call waiting, long distance, caller
 4                  32                                                          $40.00
                            ID, and internet may be included,
                            depending on amount and circumstance;
 5                          test is whether “necessary for health and
                            welfare or production of income.”
 6
                            Federal Student Loan Payments under
 7                  56                                                         $183.38
                            IBR for Heidi Stafford
 8                          Federal Student Loan Payments under
                    56                                                         $192.25
                            IBR for Tyson Stafford
 9
                    56      NCT Student Loan Payment                            $62.50
10
                            TOTAL EXPENSES                                    $4,511.13
11

12
                                       (4) Additional Agreed Facts
13
            Plaintiffs are currently pregnant and expecting a new baby due in June 2016.
14
                                          (5) Factual Contentions
15

16          Plaintiff’s Contentions

17          A.      Plaintiffs cannot maintain a minimal standard of living based on Plaintiffs’

18   current income and expenses, while simultaneously repaying the loans they owe to the
19
     defendant.
20
            B.      Additional circumstances exist indicating that this state of financial affairs will
21
     persist over a significant portion of the repayment periods of the loans held by the defendant.
22
     The Plaintiffs here can rebut the presumption that their income will increase to a point where
23

24   they can make payments and maintain a minimal standard of living.

25          C.      A good faith effort has been made to repay the loans held by the defendant.
26
27   JOINT PRETRIAL ORDER - 9                                             HENRY, DEGRAAFF & MCCORMICK, P.S.
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     Case 14-01458-TWD          Doc 83      Filed 11/06/15     Ent. 11/06/15 09:28:56          Pg. 9 of 16
                                                                          Submitted But Not Entered.

              D.       The Plaintiffs’ educational background makes it unlikely that they will be able to
 1

 2   obtain employment that would enable them to significantly increase their income in the

 3   foreseeable future.

 4         Defendant’s Contentions
 5            A.       Defendant Navient dispute that the Plaintiffs can meet the requirements of the
 6
     applicable test required for a determination of dischargeability under 11 USC §523(a)(8).
 7
                                                    (6) Issues of Law
 8
              The two legal issues of law are as follows:
 9

10            A.       Whether the Plaintiffs’ educational loan debts are dischargeable due to undue

11   hardship under 11 U.S.C. § 523(a)(8),

12            B.       Whether the Plaintiffs have proved an undue hardship by a preponderance of the
13
     evidence, and if so, then
14
              C.       Whether the Court should use its equitable authority under Section 105(a) to
15
     impose nay partial payments.1
16
                                                  (7) Expert Witnesses
17

18            Neither party intends to present any expert testimony.

19                                                (8) Other Witnesses
20            The names and addresses of witnesses, other than experts, to be used by each party at the
21
              time of trial and the general nature of the testimony are:
22
              On Behalf of Plaintiffs
23

24

25     1
         The court ruled at the Summary Judgment hearing on September 4, 2015 that the Ninth Circuit expressly
26   authorizes partial discharge under In re Saxman, 325 F.3d 1168 (9th Cir 2003) and this ruling remains the law of the
     case.
27   JOINT PRETRIAL ORDER - 10                                                      HENRY, DEGRAAFF & MCCORMICK, P.S.
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     Case 14-01458-TWD              Doc 83       Filed 11/06/15         Ent. 11/06/15 09:28:56            Pg. 10 of 16
                                                                  Submitted But Not Entered.

              1.      Plaintiffs, Heidi A. Stafford and Tyson J. Stafford (“Plaintiffs”) may be called to
 1

 2   testify regarding facts relevant to this case, including but not limited to their efforts to maximize

 3   income and minimize expenses as well as their efforts to pay their student loan lenders.

 4            2.      Wiley Calhoun, Shift Manager, Red Dragon Casino, 21917 Highway 99,
 5   Mountlake Terrace, WA 98036, may be called to testify about Heidi Stafford work schedule at
 6
     the Red Dragon Casino.
 7
              3.      Brooks Institute answered a non-party Subpoena Duces Tecum with a Declaration
 8
     from their record’s coordinator and the requested documentation. Selected Records will be
 9

10   submitted by the declaration of Tim Kirby, the Records Coordinator for Brooks Institute.

11   Relevant records detail the Costs of Attendance, the Student Loans paid to Brooks Institute and

12   disbursed to Plaintiffs for books, living expenses and other approved expenses, and the financial
13
     aid loan disbursement summaries.
14
              4.      Plaintiffs reserve the right to call and examine any witness called by defendant
15
     Navient Solutions Inc. at Trial also unless certain facts are stipulated to before trial.
16
                                                  (9) Exhibits
17

18            A. Admissibility Stipulated.

19            Plaintiff’s Exhibits:
20     Nmbr#       Description                                             Obj     Admitted

21     P-2         Tyson’s Forbearance History (all loans)                         X
22
       P-3         Heidi’s Forbearance History (all loans)                         X
23
       P-8         Plaintiff Tyson Stafford’s FedLoan Servicing Sept               X
24                 25, 2015 notice of IBR monthly payment change
       P-9         Plaintiff Heidi Stafford’s Nelnet Sept 28, 2015                 X
25
                   notice of IBR monthly payment change.
26     P-10        Plaintiffs’ current income and expense budget           X
                   (Sept 30 2015)
27   JOINT PRETRIAL ORDER - 11                                             HENRY, DEGRAAFF & MCCORMICK, P.S.
                                                                                   1833 N 105TH ST, SUITE203
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     Case 14-01458-TWD            Doc 83     Filed 11/06/15      Ent. 11/06/15 09:28:56          Pg. 11 of 16
                                                            Submitted But Not Entered.

      P-11      Plaintiffs’ Average Paycheck chart                   X
 1

 2    P-12      Plaintiff Tyson Stafford’s paystubs at the Barca            X
                Lounge (a/k/a The Expats Club Inc.) from
 3              5/22/2015 – 9/25/2015
      P-13      Plaintiff Heidi Stafford’s paystubs at the Red              X
 4              Dragon Casino (a/k/a NG Washington III, LLC)
                from 1/2/2015 – 9/25/2015
 5
      P-15      Future Plaintiff Heidi Stafford’s paystubs at the           X
 6              Red Dragon Casino (a/k/a NG Washington III,
                LLC) from 10/9/2015 – 10/23/2015
 7    P-16      Plaintiffs’ ATT wireless billing statement for              X
                October 2015 (when available)
 8    P-17      Plaintiffs’ Comcast bill updated for October 2015           X
 9              (when available)
      P-18      Plaintiffs’ last six months of Amazon.com charges           X
10              with updates
      P-19      Plaintiffs; Bank of America bank statements for             X
11              May 2015 with available receipts for purchases on
                those statements
12
      P-20      Plaintiffs; Bank of America bank statements for             X
13              June 2015 with available receipts for purchases on
                those statements
14    P-21      Plaintiffs; Bank of America bank statements for             X
                July 2015 with available receipts for purchases on
15              those statements
16    P-22      Plaintiffs; Bank of America bank statements for             X
                Aug 2015 with available receipts for purchases on
17              those statements
      P-23      Plaintiffs; Bank of America bank statements for             X
18              Sept 2015 with available receipts for purchases on
                those statements
19
      P-24      Plaintiffs; Bank of America bank statements for             X
20              Oct 2015 with available receipts for purchases on
                those statements
21    P-25      Plaintiffs’ 2014 tax return                                 X
22
      P-26      Plaintiffs’ 2013 tax return                                 X
23
      P-27      Plaintiffs’ 2012 tax return                                 X
24
      P-28      Plaintiff Tyson Stafford’s unemployment log for      X
25

26              job applications

27   JOINT PRETRIAL ORDER - 12                                       HENRY, DEGRAAFF & MCCORMICK, P.S.
                                                                            1833 N 105TH ST, SUITE203
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     Case 14-01458-TWD        Doc 83     Filed 11/06/15   Ent. 11/06/15 09:28:56         Pg. 12 of 16
                                                             Submitted But Not Entered.

      P-29      Plaintiff Tyson Stafford’s Unemployment                       X
 1              Compensation Report
 2    P-30      Plaintiffs’ Reaffirmation agreement with BMW                  X
                Bank of North America
 3    P-31      Plaintiffs’ Rental Lease                                      X

 4    P-32      Plaintiff Heidi Stafford’s weekly work schedule               X
 5
      P-33      Plaintiff Tyson Stafford’s weekly work schedule               X
 6              and clock in clock out timesheets (August –
                October)
 7    P-34      The IRS Collection Financial Standards                 X
                (“Means Test”) Means Testing: Census Bureau,
 8              IRS Data and Administrative Expenses
 9              Multipliers, U.S. Trustee Program
                http://www.justice.gov/ust/means-testing/means-
10              testing-cases-filed-or-after-may-15-2015
                (updated June 10, 2015).
11    P-35      History of Brooks Institute,                           X
                http://www.brooks.edu/About-Brooks/History-Of-
12
                Brooks (last visited August 2, 2015)
13    P-36      Brooks Institute, Wikipedia,                           X
                https://en.wikipedia.org/wiki/Brooks_Institute (last
14              visited August 2, 2015).
      P-37      Bureau of Labor Statistics, U.S. Department of         X
15              Labor, Occupational Outlook Handbook, 2004-05
16              Edition, Photographers,
                http://permanent.access.gpo.gov/lps4235/2004-
17              05/2004-2005/ocos264.htm (last modified May 18,
                2004)
18    P-38      Doug Lederman, Calif. Reins In a For-Profit            X
                College, InsideHigherEd,
19              https://www.insidehighered.com/news/2005/07/20
20              /brooks (July 20, 2005)
      P-39      Gretchen Morgenson, The School That Skipped            X
21              Ethics Class, The New York Times,
                http://www.nytimes.com/2005/07/24/business/you
22              rmoney/the-school-that-skipped-ethicsclass. html
                (July 24, 2005)
23
      P-40      Amar Toor, Chicago Sun-Times trains reporters to       X
24              shoot with iPhones after laying off all its
                photographers, The Verge,
25              http://www.theverge.com/2013/6/1/4386074/chica
                go-sun-times-cuts-entire-photography-staff- trains-
26              reporters-iphone (June 1, 2013)
27   JOINT PRETRIAL ORDER - 13                                         HENRY, DEGRAAFF & MCCORMICK, P.S.
                                                                              1833 N 105TH ST, SUITE203
                                                                            SEATTLE, WASHINGTON 98104
                                                                               telephone (206) 330-0595
                                                                                   fax (206) 400-7609

     Case 14-01458-TWD        Doc 83     Filed 11/06/15     Ent. 11/06/15 09:28:56         Pg. 13 of 16
                                                             Submitted But Not Entered.

      P-41      Kim Peterson, Why Sports Illustrated laid off all of X
 1              its photographers, CBS News MoneyWatch,
 2              http://www.cbsnews.com/news/why-sports-
                illustratedcut- all-of-its-photographers/ (January
 3              26, 2015).

 4    P-42      Bureau of Labor Statistics, U.S. Department of        X
                Labor, Occupational Outlook Handbook, 2014-15
 5
                Edition, Photographers,
 6              http://www.bls.gov/ooh/media-and-
                communication/photographers.htm (published
 7              January 8, 2014).
      P-43      Filed bankruptcy Petition and Schedules for Heidi     X
 8              and Tyson Stafford at time of original filing.
 9    P-44      Filed bankruptcy Petition and Schedules for Heidi     X
                and Tyson Stafford at the time of Conversion to
10              Chapter 7
      P-45      Heidi and Tyson Stafford’s bankruptcy discharge              X
11              order
      P-46      Filed Proofs of Claim by Sallie Mae/Navient in               X
12
                this bankruptcy case.
13    P-47      Documents from Brooks’ Institutes Custodian of               X
                Records re Loan Records
14    P-48      Navient/Sallie Mae Excel Loan with supporting                X
                documents – disbursed to Heidi Stafford on
15              12/2003
16    P-49      Navient/Sallie Mae Excel Loan with supporting                X
                documents – disbursed to Tyson Stafford on
17              7/2008
      P-50      Tyson Stafford’s Work Schedule from 9/28/2015 –       X
18              10/18/2015
      P-51      Tyson Stafford’s Clock In and Clock out Work                 X
19
                hours from 9/28/2015 – 10/18/2015
20    P-52      Heidi Stafford’s Work Schedule                        X

21    P-53      Health Care Exchange Monthly Payment Stmt                    X
22    P-54      Settlement with National Collegiate Trust                    X
23              (“NCT”) on September 2, 2015 (docket # 64 and
                #56)
24    P-55      PNC Bank, NA’s agreed to judgment for a full                 X
                discharge of its student loan debt on July 16, 2015
25              (docket# 34)
      P-56      Planned Parenthood Pregnancy Test Results                    X
26
27   JOINT PRETRIAL ORDER - 14                                        HENRY, DEGRAAFF & MCCORMICK, P.S.
                                                                             1833 N 105TH ST, SUITE203
                                                                           SEATTLE, WASHINGTON 98104
                                                                              telephone (206) 330-0595
                                                                                  fax (206) 400-7609

     Case 14-01458-TWD        Doc 83     Filed 11/06/15     Ent. 11/06/15 09:28:56        Pg. 14 of 16
                                                              Submitted But Not Entered.


 1

 2

 3           Defendant’s Exhibits:

 4    Nmbr#      Description                                           Obj     Admitted

 5    D-2        Ms. Stafford’s Application and Promissory Note                X
                 for an educational loan, with initial disbursement
 6               date of November 8, 2005
 7    D-3        Ms. Stafford’s Application and Promissory Note                X
                 for an educational loan, with initial disbursement
 8               date of July 11, 2006
      D-4        Ms. Stafford’s Application and Promissory Note                X
 9               for an educational loan, with initial disbursement
                 date of March 6, 2007
10

11    D-5        Ms. Stafford’s Application and Promissory Note                X
                 for an educational loan, with initial disbursement
12               date of November 6, 2007
      D-6        Ms. Stafford’s Application and Promissory Note                X
13               for an educational loan, with initial disbursement
14               date of July 21, 2008
      D-7        Navient’s Account Summary Electronic Record of                X
15               Ms. Stafford’s account(s)
      D-8        Declining Balance Payment History for Ms.                     X
16               Stafford’s Navient student loans
17    D-9        Plaintiff, Tyson J. Stafford (“Mr. Stafford”)’s,              X
                 Application and Promissory Note for an
18               educational loan, with initial disbursement date of
                 October 25, 2005
19
      D-10       Mr. Stafford’s Application and Promissory Note                X
20               for an educational loan, with initial disbursement
                 date of July 11, 2006
21    D-11       Mr. Stafford’s Application and Promissory Note                X
                 for an educational loan, with initial disbursement
22               date of March 20, 2007
23    D-12       Mr. Stafford’s Application and Promissory Note                X
                 for an educational loan, with initial disbursement
24               date of November 6, 2007
      D-14       Navient’s Account Summary Electronic Record of                X
25               Mr. Stafford’s account(s)
      D-15       Declining Balance Payment History for Mr.                     X
26
                 Stafford’s Navient student loans
27   JOINT PRETRIAL ORDER - 15                                         HENRY, DEGRAAFF & MCCORMICK, P.S.
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     Case 14-01458-TWD         Doc 83     Filed 11/06/15     Ent. 11/06/15 09:28:56         Pg. 15 of 16
                                                                  Submitted But Not Entered.

       D-16       Plaintiffs’ supplemental responses to Navient’s               X
 1                First Set of Request for Admission
 2     D-17       Excerpts from Plaintiffs’ Bank of America Bank                X
                  Statements
 3     D-18       Plaintiffs’ Amended Schedule I                                X

 4

 5
                                        (10)    Action by the Court
 6
        A. This case is scheduled for trial without a jury on November 9, 2015 at 9:30 AM.
 7
        B. Trial briefs shall be filed in compliance with the Order Setting Trial Date which requires
 8

 9            on or before October 30, 2015.

10      C. This Pretrial Order is due by October 30, 3015

11      D. Exhibits shall be submitted in compliance with the court’s Order Setting Trial Date.
12            This order shall control the subsequent course of the action unless modified by
13
     subsequent order. This order shall not be amended except by order of the court pursuant to
14
     agreement of the parties or to prevent manifest injustice.
15
                                           / / END OF ORDER / /
16

17     Form approved by

18     HENRY, DEGRAAFF & MCCORMICK, P.S.

19
       By: _/s/ Christina L Henry___________
20     Christina L Henry, WSBA# 31273
       Attorney for the Plaintiffs
21

22     GISKE LAW FIRM, PLLC

23      By: _/s/ Mark J Giske______
        Mark J. Giske, WSBA# 15969
24      Attorney for Navient Solutions, Inc.
25

26
27   JOINT PRETRIAL ORDER - 16                                           HENRY, DEGRAAFF & MCCORMICK, P.S.
                                                                                1833 N 105TH ST, SUITE203
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     Case 14-01458-TWD           Doc 83    Filed 11/06/15     Ent. 11/06/15 09:28:56         Pg. 16 of 16
